339 F.2d 753
    UNITED STATES ex rel. BROOKFIELD CONSTRUCTION CO., Inc., and Baylor Construction Corp., Appellants,v.J. George STEWART, Individually and as Architect of the Capitol, Appellee.
    No. 18932.
    United States Court of Appeals District of Columbia Circuit.
    Argued November 6, 1964.
    Decided November 25, 1964.
    
      Messrs. Robert E. Herzstein and Ralph J. Temple, Washington, D. C., for appellants.
      Mr. Frank Q. Nebeker, Asst. U. S. Atty., with whom Messrs. David C. Acheson, U. S. Atty., and Alan Kay, Asst. U. S. Atty., were on the brief, for appellee.
      Before BASTIAN, WRIGHT and McGOWAN, Circuit Judges.
      PER CURIAM.
    
    
      1
      Appellants in this case brought an action in the nature of mandamus to compel appellee, the Architect of the Capitol, to award them a construction contract on which their joint bid was the lowest. The District Court dismissed the action on a finding that appellee's rejection of appellants' bid was within his statutory authority and that, therefore, the action is in reality one against the United States which is barred by the doctrine of sovereign immunity.
    
    
      2
      In view of the Supreme Court holdings in Larson v. Domestic &amp; Foreign Corp., 337 U.S. 682, 69 S.Ct. 1457, 93 L.Ed. 1628 (1949), and, more recently, Malone v. Bowdoin, 369 U.S. 643, 82 S.Ct. 980, 8 L.Ed.2d 168 (1962), we feel constrained to affirm the position adopted by the court below.
    
    
      3
      Affirmed.
    
    